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No further filings will be accepted. The case was closed on July 13, 2023.
             Case 2:21-cv-04569-JAK-KS
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         --Case Participants: Daniel G. Boyle (caseview.ecf@usdoj.gov, daniel.boyle2@usdoj.gov, gabriela.arciniega@usdoj.gov,
         jonathan.wettstein@usdoj.gov, tarleen.khauv@usdoj.gov, usacac.criminal@usdoj.gov), Judge John A. Kronstadt
         (crd_kronstadt@cacd.uscourts.gov), Magistrate Judge Karen L. Stevenson (crd stevenson@cacd.uscourts.gov)
         --Non Case Participants:
         --No Notice Sent:

         Message-Id:<36622018@cacd.uscourts.gov>
         Subject:Activity in Case 2:21-cv-04569-JAK-KS United States of America v. Real Property Located in Malibu, California
         Text Only Scheduling Notice
         Content-Type: text/html

         This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail because
         the mail box is unattended.
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                                                        UNITED STATES DISTRICT COURT

                                                      CENTRAL DISTRICT OF CALIFORNIA

         Notice of Electronic Filing

         The following transaction was entered on 9/28/2023 at 1:45 PM PDT and filed on 9/28/2023
         Case Name:            United States of America v. Real Property Located in Malibu, California
         Case Number:         2:21-cv-04569-JAK-KS
         Filer:
         WARNING: CASE CLOSED on 07/13/2023
         Document Number:40(No document attached)

      Docket Text:
     (IN CHAMBERS)ORDER REJECTING LETTERS RECEIVED FROM MORRPRES TRUST AND MELVIN LOUIS HUGES [31]
     [38][39]) by Judge John A. Kronstadt: The Court orders the rejection of the letters received on behalf of Morrpres Trust
      and Melvin Louis Huges. Per Local Rule 83-2.5, no letters to the Judge and the case closed on July 13, 2023. THERE IS
      NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.(tj) TEXT ONLY ENTRY


         2:21-cv-04569-JAK-KS Notice has been electronically mailed to:

         Daniel G. Boyle daniel.boyle2@usdoj.gov, caseview.ecf@usdoj.gov, gabriela.arciniega@usdoj.gov,
         Jonathan.Wettstein@usdoj.gov, Tarleen.Khauv@usdoj.gov, USACAC.Criminal@usdoj.gov

         2:21-cv-04569-JAK-KS Notice has been delivered by First Class U. S. Mail or by other means BY THE FILER
         to

         Morrpress Trust
         5760 Lindero Canyon Road
         Westlake Village, CA 91362




1 of 1                                                                                                                9/28/2023, 1:50 PM
